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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
SYNTHEON, LLC,                       )
                                     )
                  Plaintiff,         )
                                     )  C.A. NO. 16-10244-ADB
v.                                   )
                                     )
COVIDIEN AG,                         )
                                     )
                  Defendant.         )
____________________________________)

                           NOTICE OF APPEARANCE

To the Clerk of the Above-Named Court:

       Please take notice of the appearance of David S. Godkin of the firm Birnbaum &

Godkin, LLP, as local counsel for Non-Party Carter, DeLuca, Farrell & Schmidt LLP.

                                      NON-PARTY CARTER, DELUCA, FARRELL
                                      & SCHMIDT LLP,
                                      By its attorneys,



                                      /s/ David S. Godkin
                                      David S. Godkin (BBO#196530)
                                      James E. Kruzer (BBO#670827)
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                             CERTIFICATE OF SERVICE

        I, David S. Godkin, hereby certify that the foregoing document filed through the
ECF system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on July 31, 2017.

                                             /s/ David S. Godkin
                                             David S. Godkin
